



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       




NO. 3-92-448-CR




MARTIN GUAJARDO,



	APPELLANT


vs.




THE STATE OF TEXAS,



	APPELLEE


                       



FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT



NO. 0920875, HONORABLE BOB JONES, JUDGE


                       




PER CURIAM


	This is an appeal from a judgment of conviction for aggravated perjury. 
Punishment was assessed at confinement for six years.

	Appellant has filed a motion to withdraw the appeal.  No decision of this Court has
been delivered.  The motion is granted and the appeal is dismissed.  See Tex. R. App. P. 59(b).



[Before Chief Justice Carroll, Justices Aboussie and Jones]

Dismissed on Appellant's Motion

Filed:  March 17, 1993

[Do Not Publish]


